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                                                                           United States District Court
                                                                             Southern District of Texas
                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS                            ENTERED
                              HOUSTON DIVISION                                August 24, 2020
                                                                             David J. Bradley, Clerk

UNITED STATES OF AMERICA                      §
                                              §
versus                                        §        Case No. 4:20−mj−01511
                                              §
Zhengdong Cheng                               §


                   ORDER OF DETENTION PENDING HEARING


     A hearing in this case is scheduled as follows:


                               August 25, 2020 at 02:00 PM
                                        by video

       IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody
of the United States Marshal or any other authorized officer. The custodian must bring the
defendant to the hearing at the time, date, and place set forth above.


Date: August 24, 2020
